                             Case 1:24-bk-00002                   Document No. 3                   Filed 04/19/24                  Page 1 of 4



                                                                                                                                           Clrsfh
 Fill in this information to identify the case:                                                                                      Dtstict Ccurl
 Debtor name        Imperial Pacific International (CN1V]I), LLC
 United States Bankruptcy Court for the; COMMONWEALTH OF THE                                                                                   □    Check if this is an
                                                      NORTHERN MARIANA ISLANDS
 Case number (if known): t>T7'             rft   /I
                                                                r-j. <T{i -A-^
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Official Form 204                                                       (C-cputy Cle.it)
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                                                                                                                12/15



A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and         Name, telephone number     Nature of claim            Indicate if claim   Amount of claim
 complete mailing address,    and email address of       (for example, trade         is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code           creditor contact           debts, bank loans,         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                         professional services,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                         and government                                 Total claim, if           Deduction for value        Unsecured claim
                                                         contracts)                                     partially secured         of collateral or setoff

 Treasurer of CNMI                                       Casino License            Contingent                                                                  $62,010,280,00
 P.O. Box 5234 CHRB                                      Fees                      Disputed
 Saipan, MP 96950
 MCC International            Guoqiang Yang              Construction              Contingent                                                                  $34,993,862.00
 Saipan Ltd. Co.                                         Services                  Disputed
 5960 Plaza Drive
 P.O. Box 500730              (670) 234-7859
 Saipan, MP 96950
 Commonwealth                 Edward DeLeon              Licensing fees            Contingent                                                                  $17,620,000.00
 Casino Commission            Guerrero                   and penalties             Disputed
 Unit13/14F
 Springs Plaza,              commissioner.edig
 Gualo Rai                   @gmail.com
 Saipan, MP 96950            (670) 588-6588
 Hughes Hubbard &             Richard Miller, Esq.       Breach of contract        Disputed                                                                      $8,583,158.54
 Reed LLP                                               claim [Hughes
 1775 I Street NW            rmiller(®pacificlaw         Hubbard & Reed
 Washington, DC              yers.law                   LLP V. [Debtor],
 20006-2401                  (670) 234-5684             CNMI Superior
                                                        Court 23-0289-CV]
 Century Estate              Yuen Han Maria             Loan                       Unliquidated                                                                  $8,000,000.00
 Investment Ltd              Kwok
 c/o/ Mathew
 Gregory                     nongzong@mail.co
 PMB 419 Box 10000           m

 Saipan, MP 96950
 CNMI Department of                                     Business Gross             Disputed                 $7,943,035.39                           $0.00        $7,943,035.39
 Revenue and                 revtaxinfo(gdof.go         Revunue Tax
 Taxation                    v.mp
 P.O. Box 5234 CHRB          (670) 664-1000
 Saipan, MP 96950
 Joshua Gray                 Bruce Berline, Esq.        Default Judgment           Disputed                                                                     $5,686,182.20
 c/o Law Office of                                      [District Court of
 Bruce Berline, LLC          bruce(®saipanlaw.          NMI1-19-CV-0008]
 P.O. Box 5682 CHRB          com

 Saipan, MP 96950            (670) 233-3663



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 Deblor                                                                                                  Case number (if known)
            Imperial Pacific internationai (CNMI), LLC
            Name


 Name of creditor and         Name, telephone number     Nature of claim            Indicate if claim   Amount of claim
 complete mailing address,    and email address of       (for example, trade         is contingent,     If the claim Is fully unsecured, fill In only unsecured claim amount. If
 Including 2lp code           creditor contact          debts, bank loans,          unliquidated, or    claim Is partially secured, fill In total claim amount and deduction for
                                                         professional services.        disputed         value of collateral or setoff to calculate unsecured claim.
                                                                                                        Total claim, if           Deduction for value        Unsecured claim
                                                                                                        partially secured         of collateral or setoff
 DFK Limited                  Shi Hao Liu                Loan                                                                                                    $4,100,000.00
 RM15 A15/F
 Goodwill, Industr.           elkelvin(galiyun.co
 Bldg                         m

 36-44 PAK TIN Par
 Street Tsuen Wan
 HONG KONG
 Internal Revenue                                        Federal Tax                                                                                             $4,079,955.00
 Service
 Centralized
 Insolvency
 Operation
 P.O. Box 7346
 Philadelphia, PA
 19101-7346
 Fujitec Pacific, Inc.        Colin Thompson,           Default Judgment           Disputed                                                                      $2,679,255.45
 128 N. Marine Corps          Esq.                      in CNMI Superior
 Drive, Suite C                                         Court, Case No.
 Tamuning, GU                 cmtlaw@live.com           22-0171-CV
 96913                        (671) 646-4120
 Modica Pro Pty Ltd           Joe McDoulett,            Claims asserted in         Disputed                                                                      $2,600,000.00
 1/131 Glenroy Road           Esq.                      Modica Pro v.
 Glenroy 3045,                                          [Debtor]
 Victoria                    joey@mcdoulettla
 AUSTRALIA                   w.com

                              (670) 233-3244
 U.S. Department of           Eric                      Damages claim              Contingent                                                                    $1,460,545.00
 Justice, Civil Divisi        Kaufman-Cohen                                        Disputed
 450 Golden Gate
 Ave, Room 7-5395             Eric.kaufman-cohe
 P.O. Box 36028              n@usdoj.gov
 San Francisco, CA           (415) 436-6630
 94102

 U.S. Department of          Charles Song, Esq.         Balance of                                                                                                    $950,000.00
 Labor, Wage & Hour                                     Stipulated
 Di                          Song.Charles.C@d           Judgment
 U.S. District               ol.gov
 Courthouse Bldg.            (202) 961-4632
 520 W. Soledad
 Ave., #101
 Hagatna, GU
 96910-4950
 Kan Pacific Saipan,         Vincent J. Seman           Judgment [District                                                                                         $907,609.52
 Ltd.                        Esq.                       Court of NMl
 c/o Seman Law                                          1-21-CV-0034;
 Office, LLC                 vjseman@semanla            District Court of
 P.O. Box 10001 PMB          w.com;                     NMl 1-23-CV-0011]
 168                         Jji.loJji@aol.com
 Saipan, MP 96950            (670) 323-2115




Official form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                   page 2
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 Debtor                                                                                                  Case number (if known)
            Imperial Pacific International (CNMI), LLC
            Name



 Name of creditor and         Name, telephone number     Nature of claim            Indicate if claim   Amount of claim
 complete mailing address,    and email address of      (for example, trade          is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 Including zip code           creditor contact          debts, bank loans,          unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        professional services,         disputed         value of collateral or setoff to calculate unsecured claim.
                                                                                                        Total claim, if           Deduction for value       Unsecured claim
                                                                                                        partially secured         of collateral or setoff

 James C. Whang /             James Whang               Judgment in                Disputed                                                                           $795,236.88
 So. Pacific Lumber                                     South Pacific
 Corp                         spicspn(gyahoo.co          Lumber
 c/o Thompson Law,            m                         Corporation
 LLC                          (670) 989-8809            Whang v. iPi,
 PMB 917 Box 10001                                       District Court of
 Saipan, MP 96950                                       NMi, Civii No.
                                                        21-CV-0027
 Actimize Limited                                        Professionai              Disputed                                                                           $772,714.00
 15/F, Internationai          compliance@nicea          Services
 Trade Tower                  ctimize.com
 348 Kwun Tong                653-157-4667
 Road, Kowioon
 HONG KONG
 GT Building                  Coiin Thompson            Baiance of                 Contingent                                                                         $761,658.80
 Systems inti Pte.            Esq.                      Judgment in CNMI           Disputed
 Ltd.                                                   Superior Court,
 Ming Arcade, 21              info.sg@gtbuilding        Case No.
 Cuscaden Road                s.com;Cmtiaw@iiv          20-0214-CV
 Singapore (249720)           e.com

 SINGAPORE                    +65 81201014;
                              (670) 233-0777
 USA Fanter Corp.                                 Judgments issued Disputed                                                                                           $726,127.05
 Ltd.                         usafanter.operation in District Court of
 PMB 1372 P.O. Box            s@gmaii.com;        NMi, Civii No.
 10003                        Cmtiaw@iive.com     1-20-CV-0005 and
 Saipan, MP 96950                                       Civii No.
                                                        1-21-CV-0035
 Guangdong                    Chen, Ghengux             Travel Expenses            Unliquidated                                                                       $600,070.00
 HuaRuiDe
 Deveiopment Co.,
 Ltd.                         +020 36125018;
 P.O. Box 501640              +020 38840843
 Saipan, MP 96950
 AM Group, LLC                Leo Wu                    Construction               Disputed                                                                           $544,360.00
 PMB 397 Box                                            Services
 100001                       amgroup@yahoo.c
 Saipan, MP 96950             om

                              (670) 285-5371;
                              (670) 322-6000




Official form 204                          Chapter 11 or Chapter 9 Cases; List of Creditors Who Have the 20 Largest Unsecured claims                                   page 3
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                                                      United States Bankruptcy Court
                                              Commonwealth of the Northern Mariana Islands

 In re    Imperial Pacific International (CNMI), LLC                                                             Case No.
                                                                                Debtor(s)                        Chapter         11


                                                  LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case


Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
 business of holder

 Best Sunshine Int'l Ltd.                                                                                                   100% membership interest
 P.O. Box 957
 Offshore Incorporations Ctre, Road Town
Tortola BVl



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


        1. the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that i have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date    April 19, 2024                                                  Signature /s/ Howyo Chi
                                                                                       Howyo Chi

                  Penally for making a false staleineni ofconcealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    I8U.S.C. §§ 152 and 3571,




Sheet 1 of I in List of Equity Security Holders
